EXHIBIT A
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                                                                                             Parties Served: 126




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